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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA
____________________________________
 NICOLE DUCHARME,                     )
                                      )
               Plaintiff,             ) CIVIL ACTION NO. 18-4484
       v.                             )
                                      )
                                         DIVISION: 1
 CRESCENT CITY DEJA VU, L.L.C.,       )
 MARY SALZER,                         ) MAGISTRATE JUDGE
                                      ) JANIS VAN MEERVELD
              Defendants.             )
 ___________________________________ )

                    FIRST AMENDED COMPLAINT AND JURY DEMAND

       COMES NOW Plaintiff Nicole Ducharme, by and through undersigned counsel, to file this

Complaint against the Defendants. In support, she states the following:

       I.      INTRODUCTION

       1.      This case is about a French Quarter restaurant that has a pattern of firing women

when they terminate their pregnancies. In one week in 2017, two female employees of the Deja Vu

Bar & Grill terminated their pregnancies, and both were fired within 24 hours of their procedure.

       2.      One of those two women was Plaintiff Nicole Durcharme. She was hired at Deja Vu

Bar & Grill (“Deja Vu”) as a bartender in 2015. Her partner, Marshall, also worked at the bar.

       3.      Nicole enjoyed her job and got along well with her manager, Mary Salzer.

       4.      When Nicole got pregnant in 2017, Ms. Salzer was happy for Nicole and Marshall,

and was supportive of the pregnancy and their relationship.

       5.      However, Nicole realized soon into her pregnancy that she could not carry the

pregnancy to term. So Nicole informed Ms. Salzer that she needed to get an abortion, and would

therefore need two days off of work.

       6.      Immediately, Ms. Salzer’s treatment of Nicole changed from warm and supportive to

cold and distant.

       7.      On September 7, 2017, Nicole had her procedure. The same day, Ms. Salzer texted

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Nicole to inform her she was off the schedule.

           8.       Confused, Nicole asked if she was fired. Ms. Salzer said she was indeed fired.

           9.       Two days later, Marshall went into work and was told he was fired as well.

           10.      The next week another bartender, referred to here as Jane Roe,1 scheduled an

abortion on September 12, 2017. She asked Ms. Salzer for that day off, and Ms. Salzer said “Fine.”

           11.      On September 10, 2017, Jane texted Ms. Salzer about the schedule. Ms. Salzer

replied, “You are not on the schedule.” Jane replied, “Okay, can you tell me why?” She received no

response, and was never put on the schedule again.

           12.      Defendants’ decision to fire Nicole for having an abortion violates Title VII of the

Civil Rights Act and the Louisiana Pregnancy Discrimination Act.

           13.      Additionally, Defendants violated Nicole’s rights under the Fair Labor Standards

Act by requiring her to “tip out” employees who worked in the kitchen.

           14.      This civil action seeks compensatory, punitive, and other relief for Defendant’s

illegal treatment and termination of Nicole.

           II.      JURISDICTION AND VENUE

           15.      Plaintiff’s claim arises under the Constitution and the laws of the United States. This

Court has jurisdiction over Plaintiff’s claims of federal rights violations, enforceable under Title VII

of the Civil Rights Act as amended and the Fair Labor Standards Act, pursuant to 28 U.S.C. §§

1331, 1343(a)(3). This Court has supplemental jurisdiction over Plaintiff’s Louisiana state law

claims in accordance with 28 U.S.C. § 1367.

           16.      The venue is proper in the Eastern District of Louisiana under 28 U.S.C. §

1391(b)(2). A substantial part of the events giving rise to the claim occurred in Orleans Parish,

situated in the Eastern District of Louisiana.




1
    A pseudonym to protect her privacy. Her identity is known to Defendants.
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       III.     THE PARTIES

       17.      Plaintiff Nicole Ducharme is of suitable age and capacity to file this suit. She is a

resident of Orleans Parish in the Eastern District of Louisiana.

       18.      Defendant Mary Salzer is, on information and belief the general manager of the

Deja Vu Bar and Grill. She fired Nicole Ducharme when Nicole had an abortion and required her to

“tip out” customarily un-tipped back of house Deja Vu staff.

       19.      Defendant Crescent City Deja Vu, L.L.C. is an active for-profit limited liability

corporation in good standing in Louisiana. On information and belief, it does business as Deja Vu

Bar and Grill in New Orleans., LA.

       IV.      FACTS

       20.      Nicole Ducharme was hired as a bartender by Deja Vu Bar and Grill in 2015. Her

partner, Marshall, was also employed by Deja Vu.

       21.      Nicole was required to share her tips with the untipped kitchen employees, which is

prohibited by the FLSA.

       22.      Deja Vu required Nicole to perform work which she could not get tipped for that

was unrelated to her tipped occupation of bartending - including stocking and ordering product - but

she was not paid the federal minimum wage of $7.25 during that time.

       23.      Nicole enjoyed her job and worked there almost two years without incident. She got

along well with her manager, Mary Salzer.

       24.      In 2017, Nicole got pregnant. She told Ms. Salzer, who was very supportive.

       25.      Ms. Salzer she said she would do anything to help Nicole and Marshall. For

example, Ms. Salzer gave them club tickets to see the Saints, so they could have a special date night

together during Nicole’s pregnancy.

       26.      Unfortunately, Nicole got very sick and anemic during her pregnancy. A previous

pregnancy had caused health problems, including gestational diabetes and hypertension. She was

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also forty years old, and had concerns with being pregnant for that reason. So she decided to get a

medical abortion.

         27.     Nicole informed Ms. Salzer she needed two days off to get an abortion. Ms. Salzer

gave her a serious, disapproving look, and Nicole explained her health reasons for needing to

terminate her pregnancy.

         28.     Ms. Salzer agreed to give Nicole the days off, but her attitude towards Nicole

changed.

         29.     Since Ms. Salzer previously said she would do anything to help, Nicole asked for a

ride home from the procedure. Ms. Salzer refused.

         30.     Nicole’s abortion was scheduled for September 7, 2017. On that day, Ms. Salzer

texted Nicole to tell her she was off the schedule.

         31.     Nicole asked Ms. Salzer if she was fired, and Ms. Salzer said yes.

         32.     Two days later, on September 9, 2017, Marshall went into work and was told he was

off the schedule as well.

         33.     The following week, Jane Roe, another Deja Vu employee, also asked for time off to

get an abortion. Her procedure was scheduled for September 12, 2017.

         34.     On September 10, 2017, Jane texted Ms. Salzer to ask about the schedule for the

upcoming week. She received no reply at first.

         35.     Then, Ms. Salzer texted Jane that she was not on the schedule. Jane asked if Ms.

Salzer could tell her why. She received no reply - and indeed was never informed why she was

fired.

         36.     She received a final paycheck postmarked September 15, 2017.

         37.     Ms. Salzer’s behavior did not go unnoticed. Another employee asked Ms. Salzer

why Nicole, Marshall, and Jane were fired. Ms. Salzer claimed the three of them were drinking on

the job. The employee knew that wasn’t true and was so disgusted she quit on the spot - saying she

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needed a “healthier working environment.”

       38.     Ms. Salzer refused to give Nicole a pink slip - even when Nicole needed it to apply

for food stamps.

       39.     On November 30, 2017, Nicole timely filed a charge of discrimination with the

Equal Employment Opportunity Commission.

       40.     On February 8, 2018, Nicole received a Right to Sue Notice from the EEOC.

       V. CLAIMS FOR RELIEF

                    Count One – Violation of Title VII of the Civil Rights Act
                            and the Pregnancy Discrimination Act
                               (Crescent City Deja Vu, L.L.C.)

       41.     Title VII of the Civil Rights Act, as amended by the Pregnancy Discrimination Act,

bars an employer from discriminating against an employee on the basis of sex, including

discrimination based on the employee’s medical conditions related to pregnancy. 42 U.S.C. §

2000e(k).

       42.     Equal Employment Opportunity Commission Guidelines affirm that discrimination

for having an abortion or considering having an abortion violates the Pregnancy Discrimination

Act.2 EEOC Guidelines are entitled to a high degree of deference. Griggs v. Duke Power, 401 U.S.

424, 433–34, 91 S.Ct. 849, 854–55, 28 L.Ed.2d 158 (1971).

       43.     The legislative history of the Pregnancy Discrimination Act indicates that abortion

was clearly contemplated by legislators as protected by the Act: “The PDA's legislative history

reveals that Congress intended the statute to require “employers to treat disabilities caused or

contributed to by pregnancy, miscarriage, abortion, childbirth and recovery therefrom as all other

temporary disabilities.” Moawad v. Rx Place, No. 95 CV 5243 (NG), 1999 WL 342759, at *6

(E.D.N.Y. May 27, 1999), referencing H.R. No. 948, 95th Cong. 2, reprinted in 1978 U.S.Code

Cong. & Admin. News, 4749, 4750.

2
                See the EEOC’s Enforcement Guidelines on Pregnancy Discrimination and Related
Issues, available at https://www.eeoc.gov/laws/guidance/pregnancy_guidance.cfm.
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       44.     Circuit courts that have considered the issue also confirm that firing an employee for

obtaining an abortion violates the Pregnancy Discrimination Act. Turic v. Holland Hosp., Inc., 85

F.3d 1211, 1213–14 (6th Cir. 1996), Doe v. C.A.R.S. Prot. Plus, Inc., 527 F.3d 358, 364 (3d Cir.),

order clarified, 543 F.3d 178 (3d Cir. 2008).

       45.     The Pregnancy Discrimination Act applies to cases of discrimination that resulted in

termination. Fairchild v. All Am. Check Cashing, Inc., 815 F.3d 959, 967 (5th Cir. 2016). Close

timing between an employer’s knowledge of the employee’s pregnancy and the decision to

terminate the employee creates a material issue of fact as to whether the termination was based on

illegal discrimination. Asmo v. Keane, Inc., 471 F.3d 588, 594-95 (6th Cir. 2006). The 5th Circuit

has likewise acknowledged that temporal proximity between an employer’s knowledge of the

employee’s protected class and the subsequent termination can be evidence of pretext in the

termination decision. Boyd v. State Farm Ins. Companies, 158 F.3d 326, 330 (5th Cir.1998).

       46.     Where an employer claims that an employee was fired for breaking a work-rule, and

the employee contends this was pretextual, the employee sets out a prima facie case of

discrimination when she shows that employees outside of the protected class were not fired for

violating the same work-rule. McDonnell Douglas Corp. v. Green, 411 U.S. 792, 804, 93 S. Ct.

1817, 1825, 36 L. Ed. 2d 668 (1973), holding modified by Hazen Paper Co. v. Biggins, 507 U.S.

604, 113 S. Ct. 1701, 123 L. Ed. 2d 338 (1993). The Fifth Circuit has affirmed that a Title VII

plaintiff establishes a prima facie case by demonstrating “either that he did not violate the rule or

that, if he did, white employees who engaged in similar acts were not punished

similarly”. Mayberry v. Vought Aircraft Co., 55 F.3d 1086, 1090 (5th Cir. 1995), quoting Green v.

Armstrong Rubber Co., 612 F.2d 967, 968 (5th Cir.), cert. denied, 449 U.S. 879 (1980).

       47.     Here, Nicole was pregnant, and then obtained an abortion.

       48.     Ms. Salzer knew that Nicole was pregnant, and was supportive of her pregnancy.

She also knew that Nicole got an abortion - and immediately fired her.

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       49.      Defendants’ purported reason for firing Nicole was pretextual. They claim she was

fired for violating a workplace rule by drinking.

       50.      Other employees have drank at Deja Vu’s bar while working, and were not

terminated.

       51.      By terminating Nicole on the basis of a medical condition related to her pregnancy,

Defendants violated Nicole’s rights under Title VII of the Civil Rights Act, as amended by the

Pregnancy Discrimination Act.

                Count Two – Violation of Rights Under the Fair Labor Standards Act
                                       (All Defendants)

       52.      The Fair Labor Standards Act (FLSA) requires, among other things, employers to

pay their employees minimum wage, and inform their employees of their rights. 29 U.S.C. 201, et

seq. The FLSA to be construed liberally because Congress intended the Act to protect this country’s

workers. See Donovan v. Grim Hotel Co., 747 F.2d 966, 971 (5th Cir. 1984), citing Donovan v.

Sabine Irrigation Co., 695 F.2d 190, 194 (5th Cir.1983).

       53.      Under the FLSA, an employer is “any person acting directly or indirectly in the

interest of an employer in relation to an employee.” 29 U.S.C. § 203(d). Managers can be

individually liable as employers under the FLSA under the economic reality test, which directs a

court to consider “whether the alleged employer: ‘(1) possessed the power to hire and fire the

employees, (2) supervised and controlled employee work schedules or conditions of employment,

(3) determined the rate and method of payment, and (4) maintained employment records.’” Gray v.

Powers, 673 F.3d 352, 355 (5th Cir. 2012), citing Williams v. Henagan, 595 F.3d 610, 620 (5th Cir.

2010). Multiple employers are jointly and severally liable for their employee’s lost wages. See

Donovan v. Grim Hotel Co., 747 F.2d 966, 971–72 (5th Cir. 1984).

       54.      The FLSA requires employers pay their nonexempt employees the equivalent of the

federal minimum wage. 29 U.S.C. §§ 206(a). For tipped employees - whose occupation customarily

and regularly gives them at least $30 a month in tips - employers make pay them less than the usual
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minimum wage of $7.25. 29 U.S.C. § 203(t); 29 C.F.R. §§ 531.56(a) and 531.58. Bartenders and

servers are usually tipped employees; dishwashers and cooks generally are not. See WHD Fact

Sheet #15: Tipped Employees Under the FLSA.

       55.      The FLSA allows employers to take a “tip credit” for their tipped employees -

essentially paying them less than the usual minimum wage - provided the employer meets certain

base requirements. The largest tip credit allowable is $5.12 an hour, meaning employers may pay

tipped employees $2.13 an hour if they meet the requisite standards. In addition to other

requirements, the employer must inform the employee of the tip credit provisions prior to taking the

tip credit, make up the difference if the employee’s tips do not reach minimum wage, and allow the

employee to keep their tips unless participating in a valid “tip pool.” 29 U.S.C. § 203(m); 29 C.F.R.

§ 531.59.

       56.      A valid tip pool is one where employees are informed ahead of time of the tip pool’s

existence, employees still make minimum wage when tips are added to their hourly wage,

employees retain the tips they made, and only tipped employees participate in the tip pool. 29

U.S.C. § 203(m); 29 C.F.R. §§ 531.54 and 531.59. However, this is only the case for a mandatory

tip pool - if tipped employees choose to share their tips with non-tipped employees, that is

acceptable under the FLSA. 29 C.F.R. § 531.54.

       57.      Before taking a tip credit, employers must inform their employees of their rights

under the FLSA, including:

            The amount of the cash wage that is to be paid to the tipped employee by the employer,
             which may not be less than $2.13 per hour;

            The additional amount by which the wages of the tipped employee are increased on
             account of the tip credit claimed by the employer;

            The amount of the tip credit claimed may not exceed the value of the tips actually
             received by the employee; and

            All tips received by the tipped employee must be retained by the employee except for a
             valid tip pooling arrangement limited to employees who customarily and regularly
             receive tips.
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       29 CFR 531.59(b). If employers do not fully inform their employees of these rights, they

owe their employees the full minimum wage. 29 CFR 531.50(3). Further, the “minimum wage

poster” displayed by most employers is not sufficient to adequately inform employees of their

rights. 29 CFR 531.59(b) and WHD Opinion Letter FLSA (January 21, 1997).

       58.     Employers cannot take a tip credit for hours where employees do work that is

unrelated to their tipped occupation. The employer is permitted to take the tip credit for “side work”

that is related to the tipped occupation - for example, a server who spends some time setting and

cleaning tables. 29 C.F.R. § 531.56(e); DOL Fact Sheet #15. However, if a tipped employee spends

more than twenty percent of her time on “side work,” employers cannot take a tip credit for that

time. WHD FOH § 30d00(e); DOL Fact Sheet #15.

       59.     Here, Nicole was never fully informed of her rights under the FLSA.

       60.     She was not informed of the required disclosures of 29 CFR 531.59(b).

       61.     Nicole was required by Deja Vu to share her tips with untipped employees.

       62.     Finally, Nicole spent time doing tasks wholly unrelated to bartending, including

stocking and ordering product for Deja Vu.

       63.     Thus, Defendants violated Nicole’s rights under the Fair Labor Standards Act.

              Count Three – Violation of the Louisiana Pregnancy Discrimination Act
                                 (Crescent City Deja Vu, L.L.C.)

       1.      Plaintiff realleges and incorporates each and every foregoing paragraph.

       64.     Louisiana law forbids discrimination on the basis of pregnancy, childbirth, or a

related medical condition. La. R.S. 23:342. Claiming a pregnant employee was fired for a reason

that other non-pregnant employees were not fired for is discrimination based on an employee’s

pregnancy. Suire v. LCS Corr. Servs, Inc., 930 So. 2d 221, 224 (La. App. 3 Cir. 2006).

       65.     Nicole was pregnant, and then obtained an abortion.




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       66.      Nicole was fired the day she had the abortion, by the very manager she asked for

time off from to get the abortion.

       67.      Defendants knew that Nicole obtained an abortion, fired her for it, and fabricated a

pretextual reason to fire her.

       68.      Because of this, Defendants violated Nicole’s state law rights to be free of

discrimination on the basis of pregnancy.

       VI.      RELIEF REQUESTED

       69.      Plaintiff requests a trial by jury.

       70.      Wherefore Plaintiff requests judgment be entered against Defendants and that the

Court grant the following:

             a. Declaratory relief;

             b. Judgment against Defendants for Plaintiff’s asserted causes of action;

             c. Award of compensatory damages;

             d. Award of special damages;

             e. Award costs and attorney’s fees pursuant to 42 U.S.C. § 1988 and 29 U.S.C. §

                794a(b);

             f. Order such other and further relief, at law or in equity, to which Plaintiff may be

                justly entitled.

                                                           NICOLE DUCHARME,
                                                           By and through her counsel,

                                                           /s/ William Most__________
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